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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION



 CUTTING EDGE VISION, LLC,
 an Arizona Limited Liability Company,

                  Plaintiff,                               Civil Action No.:6:24-cv-270

         v.
                                                           TRIAL BY JURY DEMANDED
 T-MOBILE US, Inc., and
 T-MOBILE USA, Inc.

                  Defendants.



                                NOTICE OF RELATED CASES


        Pursuant to the Court’s Standard Ordered Governing Proceeding (“OGP”) 4.4 – Patent

Cases, Plaintiff provides the following notice regarding Waco Division cases that are related:

    1. 6:22-CV-00285-ADA-DTG, Cutting Edge Vision, LLC, v. TCL Technology Group
        Corporation, et al;
    2. 6:21-CV-00370-ADA, Cutting Edge Vision, LLC v. Sonim Technologies, Inc.

    The above two (2) cases each concern the same patents-in-suit and/or patent family as those
asserted in this case.



Dated: May 20, 2024                  Respectfully submitted,
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